                                    UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF SOUTH CAROLINA

         NAUTILUS INSURANCE COMPANY,
                                                                  C/A No.: 2:22-cv-1307-RMG
                              Plaintiff,
         v.

         RICHARD ALEXANDER MURDAUGH,                       NAUTILUS INSURANCE COMPANY’S
         SR., CORY FLEMING, MOSS & KUHN,                    RESPONSE TO PALMETTO STATE
         P.A., CHAD WESTENDORF, and                         BANK’S MOTION TO FILE UNDER
         PALMETTO STATE BANK,                                           SEAL

                             Defendants.

              Nautilus Insurance Company (“Nautilus”) responds to the Motion to File Under Seal

     [ECF No. 130] filed by Palmetto State Bank (“PSB”) as follows. Nautilus believes redacted

     versions of the documents in question will suffice to protect confidentiality, as discussed below.


I.            Background

              The documents in question come from the file of Phelps Dunbar, Nautilus’ coverage

     counsel, produced to PSB on July 71 pursuant to PSB’s subpoena dated June 1. The materials

     were first provided to Nautilus by Phelps Dunbar on July 5 so Nautilus could review for

     privilege and designate any materials as “confidential” subject to the Confidentiality Order

     entered December 16, 2022 [ECF No. 97]. Given the short window Nautilus was afforded to

     review the materials and the volume of material provided, counsel for Nautilus suggested that the

     simplest way to resolve any issues would be for Nautilus to make all of the Phelps materials

     available for PSB’s counsel to review so it could determine which documents it considered

     relevant, and thus streamline any dispute over privilege or confidentiality by narrowing the

     documents in question. Exh. 1 (Epting email). Nautilus’ counsel wrote:


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         All dates herein are in the year 2023, unless otherwise noted.

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                    To effectuate a speedy resolution of the privileged documents,
                    Nautilus is willing to provide all documents enumerated within the
                    privilege log for an in-camera/counsel eyes only review, subject to
                    an agreement unique to this set of documents. Under the terms of
                    such an agreement, the documents could be used within the confines
                    of this litigation, should it ultimately be determined they are relevant
                    and not privileged.

      Id. The following week, Nautilus’ counsel sent a second letter on the subject and proposed the

      following:

                           All documents not produced via Dropbox on Friday, July 14
                            [sic]will be provided for your in camera review.
                           You should identify the document(s) you want to put in
                            issue.
                           As to these documents we will mark them as confidential or
                            as privileged.
                           As to these documents their use will be limited to this
                            litigation and will not be shared with other parties unless
                            they agree to the terms of the confidentiality agreement I will
                            draft.
                           In this fashion there should be no fight over what we can
                            agree to and we reserve the right to claim privilege over a
                            limited set of documents.
                           We acknowledge that your argument for relevance has merit
                            as does Nautilus’ desire to protect its internal discussions,
                            discussions with counsel, and decision-making concerning
                            the “gap” issues.

      Exh. 2 (Epting July 12 letter). This was the same procedure Nautilus had suggested for

      narrowing the dispute about PSB’s meeting minutes, which PSB rejected. See ECF No. 122 at 4.


II.          Motion to File Under Seal

             No response to Nautilus’ proposal regarding the Phelps materials was received; rather,

      Nautilus received notice of PSB’s Motion to File Under Seal [ECF No. 130] and Motion for

      Summary Judgment [ECF No. 131] filed on the afternoon of Friday, July 21. Nautilus

      recognizes that PSB acted in a manner to provide maximum protection to the documents in

                                                       2
   question, but in doing so, PSB neglected to confer with Nautilus prior to filing.

            Nautilus informed PSB of this oversight by email of July 21. Exh. 3 (Rannik email), and

   the parties conferred about this issue specifically and about the Phelps materials generally on the

   morning of Tuesday, July 25. Nautilus understands PSB’s position to be that the privilege as to

   all Phelps materials2 had been waived and that a review would serve no useful purpose.

            Having not obtained an agreement from PSB, Nautilus’ counsel undertook a

   comprehensive review and provided revised confidentiality designations and certification on

   August 2.


III.        Confidentiality and Privilege Concerns

            At the very outset of this litigation, Nautilus decided to assert attorney-client privilege as

   to a single issue. Nautilus wishes to explain that issue to the Court.

                                                   REDACTED




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       Based on Nautilus’ counsel interpretation during a telephonic meet and confer on July 25.

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                               Respectfully submitted:

This 4th day of August, 2023   /s/ Jaan Rannik
Charleston, South Carolina     EPTING & RANNIK, LLC
                               Jaan G. Rannik (Fed. ID No. 12621)
                               Clinton T. Magill (Fed. ID No. 12459)
                               46A State Street
                               Charleston, SC 29401
                               P: (843) 377-1871
                               F: (843) 377-1310
                               jgr@epting-law.com
                               ctm@epting-law.com
                               COUNSEL FOR NAUTILUS INSURANCE COMPANY




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